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                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF DELAWARE

In re:                                                   Chapter 11

TOUGH MUDDER INCORPORATED;                               Case No. 20-10036 (CSS)
TOUGH MUDDER EVENT PRODUCTION                            Case No. 20-10037 (CSS)
INCORPORATED

                        Debtors.




                 NOTICE OF APPOINTMENT OF CHAPTER 11 TRUSTEE

To:      Derek C. Abbott, Esq.
         Morris Nichols Arsht & Tunnell LLP
         1201 N. Market St.
         Wilmington, DE 19899-1347
         Phone: (302) 351-9357
         Email: dabbott@mnat.com

         Pursuant to the Order of this Court entered on January 21, 2020 (Docket No. 18)
directing the United States Trustee to appoint a chapter 11 trustee in the above-captioned cases,
the United States Trustee hereby appoints Derek C. Abbott, Esq. to serve as the chapter 11
trustee.

        The chapter 11 trustee bond is initially set at $500,000. The bond may require
adjustment as the trustee collects and liquidates assets of the estates, and the trustee is directed to
inform the Office of the United States Trustee when changes to the bond amount are required or
made. Pursuant to 11 U.S.C. § 322, the bond must be filed with the United States Trustee within
five (5) days of the date of your appointment.

         You are required to notify the Court and the United States Trustee, in writing, within
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seven (7) days after receipt of this notice of your acceptance of this appointment.


Dated: January 29, 2020                         ANDREW R. VARA
       Wilmington, Delaware                     UNITED STATES TRUSTEE, REGIONS
                                                THREE AND NINE

                                                By: /s/ Jane Leamy
                                                Jane Leamy (DE ID 4113)
                                                Trial Attorney
                                                United States Department of Justice
                                                Office of the United States Trustee
                                                J. Caleb Boggs Federal Building
                                                844 King Street, Suite 2207, Lockbox 35
                                                Wilmington, DE 19801
                                                (302) 573-6491
